                          EXHIBIT 4
                   Falsified Records




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                                                                                                                                        EX,BJT

                                                                                White , Keisha Marie
                                                                                                                                  -F6-)s~P. e_.J
                                                                                MRN : 3816465, DOB: 10/11/1987, Sex:                Ktc.vr~ 5
                                                                                Acct#: 11742656
                                                                                Adm : 4/16/2014, D/C: 5/10/2014
                        04/16/2014 -Admission (Discharged) in Medical Intensive Care Unit (continued)
Flowsheets (group 4 of 4) (continued)
          Vital Si ns
           SpO2                81 % !    -EEVERETT at    83 % !   -EEVERETT at    81 % !   -EEVERETT at    81 % ! -EEVERETT at    81 % ! -EEVERETT at
                               05/11/14 1936             05/11/141936             05/11/141936             05/11/141936           05/11/1 41936
           Row Name            05/10/14 0319             05/10/14 0321            05/10/14 0322            05/10/14 0323          05/10/14 0324
          Vital Si ns
   .:if._ SpO2                 82 % ! -EEVERETT at
                               05/11/14 1936
                                                         97 % -EEVERETT at
                                                         05/11/14 1936
                                                                                  97 % -EEVERETT at
                                                                                  05/11/14 1936
                                                                                                           87 % ! -EEVERETT at
                                                                                                           05/11 /14 1936
                                                                                                                                  94 % -EEVERETT at
                                                                                                                                  05/11/14 1936
           Row Name            05/10/14 0325             05/10/14 0329            05/10/14 0330            05/10/14 0331          05/10/14 0332
          Vital Si ns
           SpO2                94 % -EE VERETT at        49 % ! -EEVERETT at      31 % !    -EEVERETT at   19 % ! -EEVERETT at    25 % ! -EEVERETT at
                               05/11/14 1936             05/11/14 1936            05/10/14 0643            05/10/14 0643          05/10/14 0643
           Row Name            05/10/14 0333             05/10/14 0334            05/10/14 0335            05/10/14 0336          05/10/14 0337
          Vital Si ns
    ~ Sp02                     22 % ! -EEVERETT at       18 % ! -EEVERETT at      12 % ! -EEVERETT at      1 % ! -EEVERETT at     26 % ! -EEVERETT at
                               05/10/14 0643             05/10/14 0643            05/10/14 0643            05/10/14 0643          05/10/14 0643
           Row Name            05/10/14 0341             05/10/14 0342            05/10/14 0343            05/10/14 0344          05/10/14 0345
          Vital Si ns
           SpO2                100 % -EEVERETT at        99 % -EEVERETT at        92 % -EEVERETT at        87 % ! -EEVERETT at    83 % ! -EEVERETT at
                               05/10/14 0643             05/10/14 0643            05/10/14 0643            05/10/14 0643          05/10/14 0643
           Row Name            05/10/14 0346             05/10/14 0347            05/10/14 0348            05/10/14 0349          05/10/14 0350
          Vital Si ns
    :t.    Sp02                82 % !    -EEVERETT at    82 % ! -EEVERETT at      88 % ! -EEVERETT at      88 % ! -EEVERETT at    77 % ! -EEVERETT at
                               05/10/14 0643             05/10/14 0643            05/10/14 0643            05/10/14 0643          05/10/14 0643
           Row Name            05/10/14 0351             05/10/14 0352            05/10/14 0353            05/10/14 0354          05/10/14 0355
          Vital Si ns
    ~      SpO2                78 % ! -EEVERETT at       75 % ! -EEVERETT at      65 % ! -EEVERETT at      65 % ! -EEVERETT at    67 % ! -EEVERETT at
                               05/10/14 0643             05/10/14 0643            05/10/14 0643            05/10/14 0643          05/10/14 0643
           Row Name            05/10/14 0600             05/10/14 0602            05/10/14 0604            05/10/14 0606          05/10/14 0607
          Vital Si ns
           SpO2                                                                                                                   74 % ! -EEVERETT at
                                                                                                                                  05/11/14 1937
           BP                  117/60 -EEVERETT at       99/43 -EEVERETT at       73/44 !    -EEVERETT     88/61 ! -EEVERETT      97/66 -EEVERETT at
                               05/11/14 1937             05/11/14 1937            at 05/11/14 1937         at 05/11/14 1937       05/11/14 1937
           BP Mean             73 MM HG -                56 MM HG -               51 MM HG -               67 MM HG -             73 MM HG -
                               EEVERETT al 05/11/14      EEVERETT al 05/11/14     EEVERETT at 05/11/14     EEVERETT at 05/11/14   EEVERETT at 05/11/14
                               1937                      1937                     1937                     1937                   1937
           Row Name            05/10/14 0608             05/10/14 0610            05/10/14 0639            05/10/14 0640          05/10/14 0641
          Vital Si ns
           Pulse                                                                  68 -EEVERETT at          72 -EEVERETT at        72 -EEVERETT at
                                                                                  05/11/14 1937            05/11/14 1937          05/11/14 1937
           SpO2                74 % !     -EEVERETT at
   4-                          05/11 /14 1937


   ~
           BP                  96/70 -EEVERETT at        94/57 -EEVERETT at                                87/58 !    -EEVERETT
                               05/11/14 1937             05/11/14 1937                                     at 05/11/14 1937
           BP Mean             75 MM HG -                64 MM HG -                                        65 MM HG -
    Ji                         EEVERETT at 05/11/14
                               1937
                                                         EEVERETT at 05/11/14
                                                         1937
                                                                                                           EEVERETT at 05/11/14
                                                                                                           1937




   *
           Row Name            05/10/14 0642             05/10/14 0643            05/10/14 0644            05/10/14 0646          05/10/14 0647
          Vital Si ns
                               73 -EEVERETT at           75 -EEVERETT al          76 -EEVERETT at          78 -EEVERETT at        78 -EEVERETT at
           Pulse               05/11/14 1937             05/11/14 1937            05/11/14 1937            05/11/14 1937          05/11/14 1937
           Row Name            05/10/14 0648             05/10/14 0649            05/10/14 0650            05/10/14 0651          05/1 0/14 0652
          Vital Si ns
   ':J_ Pulse                  77 -EEVERETT at
                               05/11/14 1937
                                                         77 -EEVERETT at
                                                         05/11/14 1937
                                                                                  76 -EEVERETT at
                                                                                  05/11/14 1937
                                                                                                           76 -EEVERETT at
                                                                                                           05/11/14 1937
                                                                                                                                  76 -EEVERETT at
                                                                                                                                  05/11/14 1937

                                                                                            White, Keisha Marie
                                                                                            MRN : 741644
                                                                                            SSN: xxx-xx-6442

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                                                                                Wh ite, Keisha Marie
                                                                                MRN : 3816465, DOB: 10/1 1/1987, Sex: F
                                                                                Acct#: 11 742656
                                                                                Adm: 4/16/20 14, DIC : 5/1 0/2014
                     04/16/2014 - Admission (Discharged) in Medical Intensive Care Unit (continued)
Flowsheets (group 4 of 4) (continued)
                                                         05/10/14 0653              05/ 10/ 14 1037
          Dressing                                       Appli ed ;lntact -         Intact -E34273 at
                                                         EEVERETT at 05110/14       05/ 10/14 1037
                                                         0653
          Infusion Mode                                  Gravity -EEVERETT at       Pump -E34273 at
                                                         05/10/ 14 0653             05/10/ 14 1037
          Fluid Infusing                                 NS -EEVERETT at            Epinephrine ,
                                                         05/10/ 14 0653             Levophed -E34273 at
                                                                                    05/10/14 1037



       Vital Signs
           Row Name          05/10/14 0140                05/10/14 0142              05/10/14 0145              05/10/14 0146            05/10/14 0200
          Vital Si ns
           Pulse                                                                                                                         89 -LLBRIXON at
                                                                                                                                         05/10/14 0207

   ~       SpO2              69 % !       -EEVERETT at
                             05/ 11 / 14 1935
                                                          48 % !     -EEVERETT at
                                                          05/11 /14 1935
                                                                                     65 % !      -EEVERETT at
                                                                                     05/11 / 14 1935
                                                                                                                61 % !    -EEVERETT at
                                                                                                                05/11/14 1935
                                                                                                                                         62 % !     -LLBRIXON at
                                                                                                                                         05/ 10/14 0207
           BP                                                                                                                            131 /1 02 ! -
                                                                                                                                         LLBRIXON at 05/ 10/ 14
                                                                                                                                         0207
           BP Mean                                                                                                                       109 MM HG -
                                                                                                                                         LLBRIXON at 05/ 10/14
                                                                                                                                         0207
           Row Name          05/10/14 0205                05/10/14 0206              05/10/14 0207              05/10/14 0208            05/10/14 0209
          Vital Si ns
           Pulse             88 -EEVERETT at              87 -EEVERETT at            88 -EEVERETT at            87 -EEVERETT at          87 -EEVERETT at

    ~ Row Name
                             05/11 / 14 1935              05/11 / 14 1935            05/11/ 14 1935             05/11/14 1935            05/ 11 / 14 1935
                             05/10/14 0210                05/10/14 0211              05/10/14 0212              05/10/14 0213            05/10/14 0219
          Vital Si ns
           Pulse             87 -EEVERETT at              87 -EEVERETT at            87 -EEVERETT at            88 -EEVERETT at

  -¥       SpO2
                             05/11 /14 1935               05/11 /14 1935             05/11 / 14 1935            05/11/14 1935
                                                                                                                83 % ! -EEVERETT at
                                                                                                                05/11/14 1935
                                                                                                                                         100 % -EEVERETT at
                                                                                                                                         05/11/14 1935
           Row Name          05/10/14 0220                05/10/14 0221              05/10/14 0222              05/10/14 0223            05/10/14 0224
          Vital Si ns
           SpO2              95 % -EEVERETT at            92 % -EEVERETT at          89 % !     -EEVERETT at    54 % ! -EEVERETT at      100 % -EEVERETT at
   4-      Row Name
                             05/11 /14 1935
                             05/10/14 0225
                                                          05/11 /14 1935
                                                          05/10/14 0227
                                                                                     05/11 /14 1935
                                                                                     05/10/14 0231
                                                                                                                05/11/14 1935
                                                                                                                05/10/14 0232
                                                                                                                                         05/11/141935
                                                                                                                                         05/10/14 0233
          Vital Si ns
           SpO2              100 % -EEVERETT at           38 % ! -EEVERETT at        87 % !                     89 % ! -EEVERETT at      88 % ! -EEVERETT at
   :'- Row Name              05/11 / 141935
                             05/10/14 0234
                                                          05/11 /141935
                                                          05/10/14 0235
                                                                                               -EEVERETT at
                                                                                     05/11 /141935
                                                                                     05/10/14 0236
                                                                                                                05/ 11/141935
                                                                                                                05/10/14 0237
                                                                                                                                         05/11 / 141935
                                                                                                                                         05/10/14 0240
          Vital Si ns
           SpO2              81 % !                       81 % ! -EEVERETT at        82 % ! -EEVERETT at        83 % ! -EEVERETT at      85 % ! -EEVERETT at
    >I-    Row Name
                                        -EEVERETT at
                             05/ 11 /141935
                             05/10/14 0250
                                                          05/11 / 141935
                                                          05/10/14 0251
                                                                                     05/ 11 / 14 1935
                                                                                     05/10/14 0254
                                                                                                                05/11/14 1935
                                                                                                                05/10/14 0255
                                                                                                                                         05/11/14 1935
                                                                                                                                         05/10/14 0259
          Vital Si ns
           SpO2              96 % -EEVERETT at            94 % -EEVERETT at          86 % ! -EEVERETT at        88 % ! -EEVERETT at      78 % ! -EEVERETT at
   ~                         05/ 11 /14 1935              05/11 /141935              05/11/141935               05/11/141935             05/11/14 1935
           Row Name          05/10/14 0300                05/10/14 0301              05/10/14 0306              05/10/14 0311            05/10/14 0312
          Vital Si ns
    %- SpO2                  76 % ! -EEVERETT at
                             05/11 /14 1935
                                                          87 % ! -EEVERETT at
                                                          05/11 / 14 1935
                                                                                     97 % -EEVERETT at
                                                                                     05/ 11 / 14 1935
                                                                                                                84 % ! -EEVERETT at
                                                                                                                05/11/14 1936
                                                                                                                                         80 % ! -EEVERETT at
                                                                                                                                         05/11/14 1936
           Row Name          05/10/14 0313                05/10/14 0314              05/10/14 0315              05/10/14 0316            05/10/14 0317

                                                                                               White, Keisha Marie
                                                                                               MRN : 741644
                                                                                               SSN : xxx-xx-6442

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                                                                        White, Keisha Marie
                                                                        MRN: 3816465, DOB : 10/11/1987, Sex: F
                                                                        Acct #: 11742656
                                                                        Adm : 4/16/2014, D/C: 5/10/2014
                      04/16/2014 - Admission (Discharged) in Medical Intensive Care Unit (continued)
Flowsheets (group 4 of 4) (continued)

    f    BP                                                               88/63 ! -EEVERETT
                                                                          at 05/111141937
         BP Mean                                                          69 MM HG -

    t    Row Name            05/10/14 0653     05/10/14 0700
                                                                          EEVERETT al 05/11/14
                                                                          1937
                                                                          05/10/14 0701            05/10/14 0800               05/10/14 0900
        Vital Si ns
         Temp                                                                                      32.8 °C (91 °F) !           33 °C (91.4 °F) !
                                                                                                   E34273 at 05/10/14 0955     E34273 at 05/10/14 1033
         Temp Source                                                                               Transesophageal -           Transesophageal -
                                                                                                   E34273 at 05/10/14 1006     E34273 at 05/10/14 1006
         Pulse               76 -EEVERETT at                                                       77 -E34273 at 05/10/14      76 -E34273 at 05/10/14
                             05/11/14 1937                                                         0955                        1033
         Resp                                                                                      18 -E34273 at 05/10/14      18 -E34273 at 05/10/14
                                                                                                   1006                        1006
         BP                                                                                        93/66 -E34273 at            92/67 -E34273 at
                                                                                                   05/10/14 0955               05/10/14 1033
         BP Mean                                                                                   73 MM HG -E34273            73 MM HG -E34273
                                                                                                   at 05/10/14 0955            at 05/10/14 1033
        E ine hrine
         Dose (mcg/min)                        10 mcg/min -E34273         20 mcg/min -E34273       18 mcg/min =                15 mcg/min -E34273
                                               at 05/10/14 0748           at 05/10/14 1035                                     at 05/10/14 1035
                                                                                                   {Action automat1cally
                                                                                                   changed) -E34273 at
                                                                                                   05/10/14 1035
         Rate                                  60 ml/hr -E34273 at        120 ml/hr -E34273 at     108 ml/hr       = {Action
                                                                                                                               90 ml/hr -E34273 at
                                               05/10/14 0748              05/10/14 1035                                        05/10/14 1035
                                                                                                   automatically changed) -
                                                                                                   E34273 at 05/10/14 1035
         Volume                                                           1 ml -E34273 at          118 ml -E34273 at           108 ml -E34273 at
                                                                          05/10/14 1036            05/10/14 1036               05/10/14 1036
        Nore ine hrine
         Dose (mcg/min)                        2 mcg/min -E34273 at       10 mcg/min -E34273       20 mcg/min -E34273          30 mcg/min -E34273
                                               05/10/14 07 48             at 05/10/14 1034         at 05/10/14 1034            at 05110/14 1034
         Rate                                  7.5 ml/hr -E34273 at       37 .5 ml/hr -E34273 at 75 ml/hr -E3427 3 at          112.5 ml/hr -E34273
                                               05110/14 0748              05/10/14 1034            05110/14 1034               at 05/10/14 1034
         Volume                                                           0.13 ml -E34273 at       36.87 ml -E34273 at         75 ml -E34273 at
                                                                          05/10/14 1006            05/10/14 1036               05/10/14 1036
         Row Name            05/10/14 0920     05/10/14 1000              05/10/14 1030            05/10/14 1058
        Vital Si ns
         Temp                                  33.5 ·c (92.3 °F) -
                                               E34273 at 05/10/14 1033
         Temp Source                           Transesophageal -
                                               E34273 at 05/10/14 1036
         Pulse                                 78 -E34273 al 05/10/14
                                               1033
         Resp                                  14 -E34273 at 05/10114
                                               1036
         BP                                    99/70 -E34273 al
                                               05/10/14 1033
         BP Mean                               77 MM HG -E34273
                                               at 05/10/14 1033
        Pain
         Pain Assessment                       Behavioral Pain
                                               Scale (Intubated
                                               Nonverbal Adult
                                               Patients ) -E34273 at
                                               05/10/14 1036
         Patient                               4 -E34273 at 05/10/14
         Acceptable Pain                       1036
         Goal

                                                                                    White , Keisha Marie
                                                                                    MRN : 741644
                                                                                    SSN : xxx-xx-6442

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